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     Aaron D. Aftergood (SBN 239853)
 1     aaron@aftergoodesq.com
     THE AFTERGOOD LAW FIRM
 2   1880 Century Park East, Suite 200
     Los Angeles, CA 90067
 3   Telephone: (310) 550-5221
     Facsimile: (310) 496-2840
 4
     Taylor T. Smith*
 5     tsmith@woodrowpeluso.com
     WOODROW & PELUSO, LLC
 6   3900 East Mexico Avenue, Suite 300
     Denver, Colorado 80210
 7   Telephone: (720) 213-0676
     Facsimile: (303) 927-0809
 8
     *Pro Hac Vice admission to be sought
 9
     Attorneys for Petitioner
10
11                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
12
13
     ABANTE ROOTER AND                             Case No. '20CV0754 JAH BLM
14   PLUMBING, INC., a California
     corporation, individually and on behalf
15   of all others similarly situated,             MEMORANDUM IN SUPPORT
                                                   OF PETITIONER’S MOTION TO
16                       Petitioner,               COMPEL COMPLIANCE WITH
                                                   SUBPOENAS AND FOR ORDER
17   v.                                            TO SHOW CAUSE AS TO WHY
                                                   TRIUMPH MERCHANT
18   TRIUMPH MERCHANT                              SOLUTIONS, LLC SHOULD
     SOLUTIONS, LLC, a California                  NOT BE HELD IN CONTEMPT
19   limited liability company,
                                                   Location: TBD
20                       Respondent.               Date: TBD
                                                   Time: TBD
21                                                 Judge: TBD
22
23   I.    Introduction
24         This action arises out of Triumph Merchant Solutions, LLC’s (“Respondent”
25   or “Triumph”) failure to respond to two subpoenas issued in an underlying action
26   pending in the United States District Court for the Northern District of California.
27
     PETITIONER’S MEMO ISO                     1
28   MOTION TO COMPEL
     COMPLIANCE WITH SUBPOENAS
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 1   (“Triumph Subpoenas,” true and accurate copies of which are attached hereto as
 2   Group Exhibit A.) Plaintiff Abante Rooter and Plumbing, Inc. (“Movant” or
 3   “Abante”) effectuated service of the subpoenas on February 13, 2020, but Triumph
 4   has refused to respond to the subpoenas in any fashion. Triumph has likewise
 5   refused to respond to or acknowledge Abante’s counsels’ subsequent attempts at
 6   communicating. As such, the Court should enter an Order compelling Triumph to
 7   comply with subpoenas and ordering Triumph to show cause as to why it should not
 8   be held in contempt.
 9   II.   Factual & Procedural Background
10         Abante Rooter and Plumbing, Inc. is the plaintiff in the underlying case
11   captioned Abante Rooter and Plumbing, Inc. v. Total Merchant Services, LLC,
12   pending in the United States District Court for the Northern District of California
13   alleging violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227, et
14   seq. (“TCPA”). (See Abante Rooter and Plumbing, Inc. v. Total Merchant Services,
15   LLC, Case No. 3:19-cv-05711-EMC (N.D. Cal. 2019), Complaint, Dkt. 1.)
16         Defendant Total Merchant Services, LLC (“TMS”) has identified Triumph as
17   an entity that placed telemarketing calls on its behalf to Abante and the alleged
18   class members during the subject time period. (See Declaration of Taylor T. Smith
19   (“Smith Decl.”) ¶ 4, a true and accurate copy of which is attached hereto as Exhibit
20   B.) TMS has also claimed that all of Triumph’s call records and related data are
21   within the custody, control, and possession of Triumph. (Id.) Relying on these
22   disclosures, Abante issued a Subpoena to Produce Documents, Information, or
23   Objects or to Permit Inspection of Premises in a Civil Action and a Subpoena to
24   Testify at a Deposition in a Civil Action on February 4, 2020. (Triumph Subpoenas,
25   Grp. Ex. A.)
26         On February 6, 2020, Movant attempted to serve both subpoenas, via process
27
     PETITIONER’S MEMO ISO                     2
28   MOTION TO COMPEL
     COMPLIANCE WITH SUBPOENAS
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 1   server, at Triumph’s principal address 2305 Historic Decatur Rd., Ste. 100, San
 2   Diego, CA 92106. (See Declarations of Diligence, true and accurate copies of which
 3   are attached hereto as Group Exhibit C.) However, Triumph’s principal address is
 4   actually a Regus shared space, and the process server was informed that Triumph
 5   employees only show up by appointment. (Id.; see also Smith Decl. ¶ 9.) Shortly
 6   thereafter, Movant’s counsel located the office address for Triumph’s organizer,
 7   manager, and registered agent, Brandon M. Smith, Esq., which is located at 105
 8   West F Street, 3rd Floor, San Diego, California 92101. (Smith Decl. ¶ 10.)
 9         On February 13, 2020, both subpoenas were served, via process server, at the
10   offices of Brandon M. Smith, Esq. (See Proofs of Service, true and accurate copies
11   of which are attached hereto as Group Exhibit D; Smith Decl. ¶ 12.) The subpoenas
12   were left with an individual who represented that she was authorized to accept
13   service on behalf of Mr. Smith. (See Proofs of Service, Grp. Ex. D; Smith Decl. ¶
14   12.) The subpoena to produce documents sought information regarding Triumph’s
15   telemarketing practices—including its calling records, any prior express consent
16   obtained to place the calls, documents related to or mentioning Plaintiff, internal do
17   not call lists, and any steps taken to comply with the TCPA—to be produced on or
18   before February 18, 2020. (See Triumph Subpoenas, Grp. Ex. A.) The subpoena to
19   testify at a deposition sought to question Triumph’s representative regarding similar
20   topics at a deposition scheduled for February 25, 2020, at 9:00 a.m. (Id.)
21         To date, Triumph has not produced any documents, served any objections,
22   moved to quash, or reached out to Abante’s counsel in any way. (Smith Decl. ¶ 18.)
23   Following the expiration of both deadlines, on March 13, 2020, counsel for Abante
24   sent a letter to Brandon M. Smith requesting that Triumph reach out regarding the
25   subject subpoenas. (Id. ¶ 14.) The March 13th letter also enclosed the Triumph
26   Subpoenas, both proof of services, and informed Triumph that its failure to respond
27
     PETITIONER’S MEMO ISO                     3
28   MOTION TO COMPEL
     COMPLIANCE WITH SUBPOENAS
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 1   would result in the filing of this motion to enforce the subject subpoenas. (Id.)
 2   Again, Triumph ignored the subpoenas altogether. (Id. ¶ 15.)
 3          Lastly, in advance of filing the present motion, counsel for Abante attempted
 4   to reach out to Brandon M. Smith by telephone. (Smith Decl. ¶¶ 16-17.) On April 3,
 5   2020, counsel for Abante left a voicemail message requesting that Mr. Smith reach
 6   out regarding Triumph’s refusal to respond. (Id. ¶ 16.) On April 6, 2020, counsel
 7   spoke with Mr. Smith’s receptionist and was assured that his message would be
 8   passed along. (Id. ¶ 17.) Counsel has not received any response.
 9          Based on these facts, Movant requests that the Court enter an order
10   compelling Triumph to respond to the subject subpoenas and issue an order to show
11   cause for why it should not be held in contempt.
12   III.   Argument
13          Movant properly served the Triumph Subpoenas that compelled compliance
14   within this District. To date, Triumph provided no response nor has it served any
15   objections. As a result, and as explained further below, the Court should issue an
16   order compelling compliance with the Triumph Subpoenas and issue an order to
17   show cause as to why Triumph should not be held in contempt.
18          A.    The Court Has Jurisdiction To Enforce The Triumph Subpoenas.
19          Under the Federal Rules of Civil Procedure, “only a court in the district of
20   the place of compliance has jurisdiction to compel compliance, or modify or quash
21   a subpoena.” Youngevity Int’l, Corp. v. Smith, No. 16-CV-704 BTM (JLB), 2017
22   WL 6418961, at *3 (S.D. Cal. Dec. 15, 2017) (collecting cases). A subpoena may
23   require a non-party witness to attend a deposition or produce documents,
24   electronically stored information, or tangible things at a place within 100 miles of
25   where the person resides, is employed, or regularly transacts business in person.
26   Fed. R. Civ. P. 45(c); see also In re Subpoena to VaughnPerling, No.
27
     PETITIONER’S MEMO ISO                      4
28   MOTION TO COMPEL
     COMPLIANCE WITH SUBPOENAS
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 1   219MC00083CASEX, 2019 WL 8012372 (C.D. Cal. Dec. 2, 2019). Thus, “the
 2   place of compliance is tethered to the location of the subpoenaed person.”
 3   Youngevity Int'l, Corp. v. Smith, No. 16-CV-704 BTM (JLB), 2017 WL 6418961, at
 4   *3 (S.D. Cal. Dec. 15, 2017) (citation omitted).
 5         This Court possesses jurisdiction to enforce the subject Triumph Subpoenas.
 6   Plaintiff served the subpoenas on Triumph, which is a California limited liability
 7   company whose principal place of business is located in this district at 2305
 8   Historic Decatur Rd, Suite 100, San Diego, California 92106. (See Proofs of
 9   Service, Grp. Ex. D; see also Smith Decl. ¶ 12.) Since the place of compliance is
10   tethered to the location of the recipient, this district is the appropriate forum to
11   enforce the Triumph Subpoenas.
12         B.     Plaintiff Properly Served The Subpoenas Upon Triumph.
13         Service of a subpoena “requires delivering a copy to the named person[.]”
14   Fed. R. Civ. P. 45(b)(1). “Most courts interpret ‘delivering’ as requiring personal
15   service.” Sanchez Y Martin, S.A. de C.V. v. Dos Amigos, Inc., No. 17CV1943 LAB
16   (JMA), 2018 WL 2387580, at *3 (S.D. Cal. May 24, 2018) (citing Wagstaffe,
17   Rutter Group Practice Guide: Federal Civil Procedure Before Trial, § 11:2272
18   (2018 rev.)). While Rule 45 is silent as to what constitutes personal service, there is
19   a growing trend “among courts to allow substitute service of a Rule 45 subpoena,
20   such as mail delivery, so long as the method of service is reasonably calculated to
21   provide timely, fair notice and an opportunity to object or file a motion to quash.”
22   Id. (citation omitted). As this Court previously held, “[a]bsent further guidance
23   from the Ninth Circuit, the court believes the better view is that ‘delivery’ under
24   Rule 45 means a manner of service reasonably designed to ensure actual receipt of a
25   subpoena by a witness, rather than personal service.” Id.
26         Here, Movant effectuated service of the subpoena upon Triumph on February
27
     PETITIONER’S MEMO ISO                       5
28   MOTION TO COMPEL
     COMPLIANCE WITH SUBPOENAS
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 1   13, 2020. Initially, Movant unsuccessfully attempted service at Triumph’s principal
 2   office address, which is a Regus shared office space. (See Declarations of
 3   Diligence, Grp. Ex. C.) The Regus receptionist stated that she was unable to accept
 4   service. (Id.) Movant’s counsel then located the office address for Brandon M.
 5   Smith, Triumph’s organizer, manager, and registered agent. (Smith Decl. ¶ 10.) On
 6   February 13, 2020, Movant served Triumph at this address by leaving the Triumph
 7   Subpoenas with an individual who stated that she was authorized to accept service
 8   on behalf Mr. Smith. (Proofs of Service, Grp. Ex. D; see also Smith Decl. ¶ 12.)
 9   This is sufficient service.
10         Triumph has also received subsequent notice of the subpoenas as well. On
11   March 13, 2020, after receiving no response from Triumph, Movant sent a letter to
12   Mr. Smith, which included the subpoenas, the proofs of service, and a request to
13   reach out to Movant’s counsel. (Smith Decl. ¶ 14.) Counsel also placed multiple
14   calls to Mr. Smith. (Id. ¶¶ 16-17.) Consequently, Triumph has received actual
15   notice of the subpoenas. Despite ample notice, Triumph has not responded, reached
16   out, or served any objections. Moreover, its failure to object also waives any
17   argument to the insufficiency of service. See Kwong Mei Lan Mirana v. Battery
18   Tai-Shing Corp., No. 08-cv-80142-JF-RS, 2009 WL 290459, at *2 (N.D. Cal. Feb.
19   5, 2009) (“[w]here a party has actual notice, failure to make a timely objection
20   waives insufficiency of service.”).
21         Therefore, the Court should find that Triumph was properly served with both
22   subpoenas.
23         C.     By Ignoring The Subpoenas, Triumph Waived All Objections And
24                Should Be Compelled To Respond.
25         “Under Rule 45, any party may serve a subpoena commanding a nonparty ‘to
26   attend and give testimony or to produce and permit inspection and copying of’
27
     PETITIONER’S MEMO ISO                     6
28   MOTION TO COMPEL
     COMPLIANCE WITH SUBPOENAS
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 1   documents.” Rich v. Kirkland, No. CV 11-4272-JLS (SPX), 2015 WL 7185390
 2   (C.D. Cal. Nov. 13, 2015) (citing Fed. R. Civ. P. 45(a)(1)(C)). Thereafter, a
 3   nonparty may serve “a written objection within fourteen days after service or before
 4   the time of compliance, if less than fourteen days.” Poly-Med, Inc. v. Novus Sci.
 5   PTE Ltd., No. 17-CV-649-DMS-WVG, 2017 WL 2291942, at *2 (S.D. Cal. May
 6   25, 2017) (citation omitted). “‘A nonparty’s failure to timely make objections to a
 7   Rule 45 subpoena generally requires the court to find that any objections have been
 8   waived.’” Poly-Med, Inc. v. Novus Sci. PTE Ltd., No. 17-CV-649-DMS-WVG,
 9   2017 WL 2291942, at *2 (S.D. Cal. May 25, 2017) (citation omitted). Further,
10   where a nonparty fails to respond, a court may grant a motion to compel compliance
11   with a subpoena. See In re Subpoena to VaughnPerling, No. 219MC00083CASEX,
12   2019 WL 8012372, at *3 (C.D. Cal. Dec. 2, 2019) (citing Miranda v. Hokinson, No.
13   2:07-cv-0609-JHN-RC, 2008 WL 11337227, at *2 (C.D. Cal. Dec. 12, 2008)) (“The
14   Court may also grant a motion to compel compliance with a Rule 45 subpoena,
15   however, where the nonparty has not formally objected but has instead failed to
16   respond.”).
17         In this case, Triumph’s actions warrant the Court granting a motion to
18   compel. That is, Triumph was properly served on February 13, 2020. (See Proof of
19   Service, Grp. Ex. D.) The subpoenas specified response dates of February 18, 2020
20   and February 25, 2020. (See Triumph Subpoenas, Grp. Ex. A.) To date, Triumph
21   failed to respond or serve any objections to the subpoenas. (Smith Decl. ¶ 18.)
22   Moreover, counsel for Abante has made numerous additional attempts to contact
23   Triumph to no avail. (See Smith Decl. ¶¶ 14-17.) Instead, Triumph has continued to
24   ignore the subpoenas and subsequent communications and has waived any
25   objections that it may have asserted.
26         Ultimately, Triumph should be compelled to respond. Absent such an order,
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     PETITIONER’S MEMO ISO                     7
28   MOTION TO COMPEL
     COMPLIANCE WITH SUBPOENAS
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 1   Triumph will continue to ignore the subpoenas. Accordingly, Movant requests that
 2   the Court enter an order compelling Triumph to provide a response to the subpoena
 3   to produce documents within fourteen (14) days and to contact Movant’s counsel
 4   regarding scheduling a deposition.
 5         D.     Triumph’s Actions Also Necessitate An Order To Show Cause
 6                Why It Should Not Be Held In Contempt.
 7         Finally, the Court “may hold in contempt a person who, having been served,
 8   fails without adequate excuse to obey the subpoena or an order related to it.” Fed.
 9   R. Civ. P. 45(g); see also Poly-Med, Inc. v. Novus Sci. PTE Ltd., No. 17-CV-649-
10   DMS-WVG, 2017 WL 2291942, at *2 (S.D. Cal. May 25, 2017). Of course, a
11   subpoena “is itself a court order, and noncompliance may warrant contempt
12   sanctions.” Poly-Med, Inc., 2017 WL 2291942, at *2 (citing Pennwalt Corp. v.
13   Durand-Wayland, Inc., 708 F.2d 492, n.5 (9th Cir. 1983)).
14         Here, Movant seeks to hold Triumph in civil contempt, which “is meant to
15   ‘compel obedience with a court order, or to compensate the contemnor's adversary
16   for the injuries resulting from the non-compliance.’” Id. (citing Falstaff Brewing
17   Corp. v. Miller Brewing Co., 702 F.2d 770, 778 (9th Cir. 1983)). To establish civil
18   contempt, the movant “must show by clear and convincing evidence that
19   [respondent] violated a specific order of the court.” Id. at *3. Once a movant
20   satisfies this burden, then the burden shifts to the respondent “to show that he took
21   every possible step to comply with the subpoena and to articulate reasons why
22   compliance was not possible.” Id.
23         Triumph’s actions warrant contempt sanctions. As explained above, Triumph
24   was properly served with the Triumph Subpoenas. To date—nearly 2 months after
25   service of the subpoenas—Triumph has failed to respond or reach out to counsel in
26   any way. This holds true despite repeated attempts by counsel to contact Triumph
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     PETITIONER’S MEMO ISO                     8
28   MOTION TO COMPEL
     COMPLIANCE WITH SUBPOENAS
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 1   regarding its obligations. This blatant defiance of a Court Order renders contempt
 2   sanctions necessary.
 3         Accordingly, the Court should issue an order to show cause why Triumph
 4   should not be held in contempt.
 5   IV.   Conclusion
 6         For the foregoing reasons, Movant requests that the Court enter an order
 7   compelling Triumph to provide a complete response to the Triumph Subpoenas
 8   within fourteen (14) days, issue an order to show cause by it should not be held in
 9   contempt, and for such additional relief as the Court deems necessary and just.
10
11                                          Respectfully submitted,

12   Dated: April 21, 2020                  ABANTE ROOTER AND PLUMBING,
13                                          INC., individually and on behalf of all others
                                            similarly situated,
14
15                                          By: /s/ Aaron D. Aftergood
                                                  One of Petitioner’s Attorneys
16
                                            Aaron D. Aftergood (239853)
17                                            aaron@aftergoodesq.com
                                            THE AFTERGOOD LAW FIRM
18                                          1880 Century Park East, Suite 200
                                            Los Angeles, CA 90067
19                                          Telephone: (310) 550-5221
                                            Facsimile: (310) 496-2840
20
                                            Taylor T. Smith*
21                                            tsmith@woodrowpeluso.com
                                            WOODROW & PELUSO, LLC
22                                          3900 East Mexico Avenue, Suite 300
                                            Denver, Colorado 80210
23                                          Telephone: (720) 213-0675
                                            Facsimile: (303) 927-0809
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     PETITIONER’S MEMO ISO                     9
28   MOTION TO COMPEL
     COMPLIANCE WITH SUBPOENAS
